      Case 2:17-cv-02735-JAD-PAL Document 1 Filed 10/30/17 Page 1 of 16




 1   JAMES E. HARPER
     Nevada Bar No. 9822
 2   TAYLOR G. SELIM
     Nevada Bar No. 12091
 3   HARPER | SELIM
     1707 Village Center Circle, Suite 140
 4   Las Vegas, Nevada 89134
     Phone: (702) 948-9240
 5   Fax: (702) 778-6600
     Email: eservice@harperselim.com
 6   Attorneys for Defendant

 7                                 UNITED STATES DISTRICT COURT

 8                                         DISTRICT OF NEVADA

 9    MACIE PEELER,                                        CASE NO.:

10                   Plaintiff,
                                                           STATE FARM’S PETITION FOR
11    vs.                                                  REMOVAL

12    STATE FARM MUTUAL AUTOMOBILE
      INSURANCE COMPANY; DOES 1 through
13    10; XYZ CORPORATIONS 11 THROUGH
      20; and ABC LIMITED LIABILITY
14    COMPANIES 21 through 30,

15                   Defendants.

16
17   TO:    THE HONORABLE JUDGES OF THE UNITED STATES DISTRICT COURT FOR THE

18          DISTRICT OF NEVADA

19          State Farm Mutual Automobile Insurance Company (“State Farm”), by and through its

20   attorneys, HARPER | SELIM, hereby remove this action to the United States District Court for the

21   District of Nevada.

22          The basis of removal is as follows:

23          1.      This Court has original jurisdiction over the subject matter of this action under the

24   provisions of 28 U.S.C. § 1332 in that there is complete diversity between the parties and more than

25   $75,000 in controversy, exclusive of interest and costs.

26          2.      State Farm, is an Illinois corporation with its principal place of business in that state,

27   and is authorized to transact insurance under the laws of the State of Nevada. State Farm is a


                                                       1
      Case 2:17-cv-02735-JAD-PAL Document 1 Filed 10/30/17 Page 2 of 16




 1   defendant in the above-entitled action now pending in the District Court, Clark County, Nevada,

 2   Case No. A-17-761255-C, Dept. XIX. It is alleged in the complaint that the Plaintiff, Macie Peeler,

 3   (hereinafter “Plaintiff”), is a resident of the State of Nevada.

 4          3.      The information contained in the claims file, in addition to the allegations in the

 5   Complaint, which are incorporated herein by this reference, establish that Plaintiff seeks damages in

 6   excess of the jurisdictional minimum. In summary, this case stems from an automobile accident

 7   wherein another vehicle collided with Plaintiff’s vehicle while attempting to make an abrupt left

 8   turn. At the time of the subject accident, Plaintiff had a State Farm policy of $100,000/$300,000 per

 9   person, per accident underinsured motorist (“UIM”) policy limits. Plaintiff made a demand to State

10   Farm for her UIM policy limits. Subsequently, a dispute arose regarding Plaintiff’s ability to recover

11   her $100,000 UM policy limits. To date, State Farm has not paid Plaintiff any UIM benefits under

12   her policy.

13          On September 19, 2017, Plaintiff filed a Complaint against State Farm for breach of

14   contract/declaratory relief, and contractual and tortious breach of the implied covenant of good faith

15   and fair dealing. The action is pending in the District Court, Clark County, Nevada, Case No. A-17-

16   761255-C, Dept. XIX. The basis of the Complaint is that State Farm should have paid Plaintiff

17   $100,000 in UM benefits under her State Farm policy. Thus, on the face of the Complaint, Plaintiff

18   is seeking her $100,000 UIM policy limits under her State Farm policy of insurance. The Complaint

19   includes a plea for contractual damages; general damages; special damages; punitive damages; lost

20   earning capacity; attorney’s fees and costs; and other such relief as the Court deems just and proper.

21   The file materials, coupled with the allegations of the Complaint, therefore, clearly establish that the

22   amount in controversy is well above the $75,000 jurisdictional threshold. See e.g., Hunter v. United

23   Van Lines, 746 F.2d 635 (9th Cir. 1984) (holding that in cases involving a single plaintiff, the

24   aggregate value of the plaintiff’s claims may be used to meet the $75,000 amount in controversy

25   requirement); Everett v. Verizon Wireless, Inc., 460 F.3d 818 (6th Cir. 2006); Long John Silver’s,

26   Inc. v. DIWA III, Inc., 650 F.Supp.2d 612 (E.D. Ky. 2009); Iglesias v. Mutual Life Ins. Co., 918

27   F.Supp. 31 (D. P.R. 1996).


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      Case 2:17-cv-02735-JAD-PAL Document 1 Filed 10/30/17 Page 3 of 16




 1          In addition, this Court may also consider insurance bad faith verdicts in Nevada as further

 2   evidence in establishing the requisite amount in controversy. McCaa v. Mass. Mut. Life Ins. Co., 330

 3   F. Supp. 2d. 1143 (D. Nev. 2004). Representative verdicts include: Tracy v. American Family, 2:09-

 4   cv-01257-GMN-PAL (in a September 2010 insurance bad faith case, the jury just awarded $50,000

 5   for breach of contract, and then awarded an additional $150,000 in “general damages” for violation

 6   of NRS 686A.310; no award for punitive damages); Republic Ins. Co. v. Hires, 107 Nev. 317 (1991)

 7   (in an insurance bad faith case, the jury awarded $450,000 for compensatory damages and $22.5

 8   million for punitive damages); Guaranty Nat’l v. Potter, 112 Nev. 199 (1996) (in an insurance bad

 9   faith case, the jury awarded $75,000 for general compensatory damages even though the insureds

10   were “out-of-pocket” only $4,000; and awarded punitive damage award of $1,000,000); Albert H.

11   Wholers & Co. v. Bartgis, 114 Nev. 1249 (1998) (in an insurance bad faith case, the jury awarded

12   $8,757 for “out-of-pocket” damages; $750,000 for general damages; and $7,500,000 in punitive

13   damages against the insurance company); Merrick v. Paul Revere Life, 594 F. Supp. 2d 1168 (D.

14   Nev. 2008) (in an insurance bad faith case, the jury awarded $30,000,000 in punitive damages).

15   When all of this evidence is taken together, it is clear that the amount in controversy exceeds

16   $75,000, and that the requirements set forth in 28 U.S.C. § 1332 have been met. As such, removal to

17   federal court based upon diversity jurisdiction is appropriate.

18          4.      The Notice of Removal is timely. Service of the Complaint was effected on State

19   Farm via the Nevada Division of Insurance on September 29, 2017. Pursuant to 28 U.S.C. § 1446

20   (b)(3), State Farm now removes the action to the United States District Court for the District of

21   Nevada.

22          5.      A copy of the Complaint, Summons, and Affidavit of Service are attached hereto as

23   Exhibit “A.”

24          6.      State Farm has concurrently filed a copy of this Petition for Removal with the Clark

25   County District Court Clerk, and has served a copy of this upon Plaintiff.

26   ///

27


                                                      3
      Case 2:17-cv-02735-JAD-PAL Document 1 Filed 10/30/17 Page 4 of 16




 1          Based on the foregoing, State Farm removes the above action now pending in the Eighth

 2   Judicial District Court, Case No. A-17-761255-C, Dept. XIX, to this Court.

 3          DATED this 30th day of October 2017.
                                                        HARPER | SELIM
 4
 5
                                                        ________________________________
 6                                                      JAMES E. HARPER
                                                        Nevada Bar No. 9822
 7                                                      TAYLOR G. SELIM
                                                        Nevada Bar No. 12091
 8                                                      1707 Village Center Circle, Suite 140
                                                        Las Vegas, NV 89134
 9                                                      Attorneys for Defendant

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      Case 2:17-cv-02735-JAD-PAL Document 1 Filed 10/30/17 Page 5 of 16




 1                                    CERTIFICATE OF SERVICE

 2          Pursuant to Rule 5(b) of the Federal Rules of Civil Procedure, I hereby certify under penalty

 3   of perjury that I am an employee of HARPER | SELIM and that on the 30th day of October 2017, the

 4   foregoing STATE FARM’S PETITION FOR REMOVAL was served upon the parties via the

 5   Court’s e-Filing and service program, addressed as follows:

 6
                                           Brian D. Nettles, Esq.
 7                                       Christian M. Morris, Esq.
                                          Edward J. Wynder, Esq.
 8                                        NETTLES LAW FIRM
                                       1389 Galleria Drive, Suite 200
 9                                        Henderson, NV 89014
                                           Attorney for Plaintiff
10
11
12                           _________________________________________
                                           An Employee of
13                                        HARPER | SELIM

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Case 2:17-cv-02735-JAD-PAL Document 1 Filed 10/30/17 Page 6 of 16




             Exhibit “A”
                   Case 2:17-cv-02735-JAD-PAL Document 1 Filed 10/30/17 Page 7 of 16




                                                                                                                         null / ALL
                                                                                                     Transmittal Number: 17225987
Notice of Service of Process                                                                            Date Processed: 10/05/2017

Primary Contact:           State Farm Enterprise SOP
                           Corporation Service Company- Wilmington, DELAWARE
                           251 Little Falls Dr
                           Wilmington, DE 19808-1674

Entity:                                       State Farm Mutual Automobile Insurance Company
                                              Entity ID Number 3461675
Entity Served:                                State Farm Mutual Automobile Insurance Company
Title of Action:                              Macie Peeler vs. State Farm Mutual Automobile Insurance Company
Document(s) Type:                             Summons and Amended Complaint
Nature of Action:                             Contract
Court/Agency:                                 Clark County District Court, Nevada
Case/Reference No:                            A-17-761255-C
Jurisdiction Served:                          Nevada
Date Served on CSC:                           10/04/2017
Answer or Appearance Due:                     20 Days
Originally Served On:                         NV Department of Business and Industry on 09/29/2017
How Served:                                   Certified Mail
Sender Information:                           Christian M. Morris
                                              702-434-8282

Information contained on this transmittal form is for record keeping, notification and forwarding the attached document(s). It does not
constitute a legal opinion. The recipient is responsible for interpreting the documents and taking appropriate action.

                                   To avoid potential delay, please do not send your response to CSC
                    251 Little Falls Drive, Wilmington, Delaware 19808-1674 (888) 690-2882 | sop@cscglobal.com
               Case 2:17-cv-02735-JAD-PAL   Document
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                                                          District Court
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                                                      CLARK COUNTY,NEVADA                                                   STATE OF NEVADA

MACIE PEELER                                                                      CASE NO.: A-17-761255-C
                                                                                  DEPT NO.:              Department 19
                       Plaintiff,

vs.
                                                                                  SUMMONS TO STATE FARM MUTUAL
                                                                                  AUTOMOBILE INSURANCE COMPANY
STATE FARM MUTUAL AUTOMOBILE INSURANCE
COMPANY, an entity licensed to do business in the State of
Nevada; DOES 1 through 10; XYZ CORPORTATIONS 11
through 20; and ABC LIMITED LIABILITY COMPANIES
21 through 30,

                          Defendants.

NOTICE! YOU HAVE BEEN SUED. THE COURT MAY DECIDE AGAINST YOU WITHOUT YOUR BEING
HEARD UNLESS YOU RESPOND WITHIN 20 DAYS. READ THE INFORMATION BELOW.

TO THE DEFENDANT: STATE FARM MUTUAL AUTOMOBILE INSURANCE COMPANY

        A civil Complaint has been filed by the Plaintiff against you for the relief as set forth in the Complaint.

         1. If you wish to defend this lawsuit, within 20 days after this Summons is served on you, exclusive of the day of
service, you must do the following:

            a. File with the Clerk of this Court, whose address is shown below, a formal written response to the Complaint
               in accordance with the rules of the Court.

            b. Serve a copy of your response upon the attorney whose name and address is shown below.

         2. Unless you respond, your default will be entered upon application of the Plaintiff, and this Court may enter a
judgment against you for the relief demanded in the Complaint, which could result in the taking of money or property or
other relief requested in the Complaint.

       3. If you intend to seek the advice of an attorney in this matter, you should do so promptly so that your response
may be filed on time.

        4. The State of Nevada, its political subdivisions, agencies, officers, employees, board members, commission
members and legislators, each have 45 days after service ofthis summons within which to file an answer or other responsive
pleading to the complaint.
Issued at the direction of:                                                   STEVEN D. GRIERSON
NETTLES LAW FIRM                                                              CLERK O.F.TH.E_COURT
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                                                                      By:
Edward J. Wynder, Esq., Nevada Bar # 13991                                    De Put Y
                                                                                     C;l'er~k
                                                                                       _           Teresa'C;
                                                                                                ~=y,                   ron       Date 9/1 1/2017
Attorney for Plaintiff                                                        Regianal-1Lstice Cenier.`
1389 Galleria Drive, Suite 200                                                200 EasG;L`,ewis `Aveniue
Henderson, Nevada 89014                                                       Las Vegas, Nevada 89155
Telephone: (702) 434-8282
NOTE:        When service is by publication, add a brief statement of the object of the action. See Rules of Civil Procedure 4(b).


                                                          Case Number: A-17-761255-C
                  Case 2:17-cv-02735-JAD-PAL Document 1 Filed 10/30/17 Page 9 of 16

STATE OF                                           )
                                                   )         ss:                      AFFIDAVIT OF SERVICE
COUNTY OF                                          )

                                                              , being duly sworn says: That at all times herein affiant was and
is a citizen of the United States, over 18 years of age, not a party to or interested in the proceeding in which this affidavit is
made. That affiant received                     copy(ies) of the Summons and Complaint,


on the                day of                                            , 20         , and served the same on the
day of                                             , 20         , by:

         (Affiant must complete the appropriate paragraph)

         Delivering and leaving a copy with the Defendant at (state address)


2.       Serving the Defendant                                                        by personally delivering and leaving a
         copy with                                                       , a person of suitable age and discretion residing at
         the defendant's usual place of abode located at (state address)


         (Use paragraph 3 for service upon agent, completing A or B)

3        Serving the Defendant                                                           by personally delivering and leaving a
         copy at (state address)


             a.    With                                                      , as
                   an agent lawfully designated by statute to accept service of process;

             b. With                                                        , pursuant to NRS § 14.020 as a persona of
                suitable age and discretion at the above address, which address is the address of the resident agent as shown
                on the current certificate of designation filed with the Secretary of State.

4        Personally depositing a copy in a mail box of the United States Post Office, enclosed in a sealed envelope, postage
         prepaid (check appropriate method):
                                                                      _ Ordinary mail
                                                                      _ Certified mail, return receipt requested
                                                                      _ Registered mail, return receipt requested

         addressed to the defendant                                                                         at Defendant's last
         known address which is (state address)


SUBSCRIBED AND SWORN to before me this
      day of               , 20

                                                                                       Signature of person making service

NOTARY PUBLIC in and for the
County of
State of Nevada
                   Case 2:17-cv-02735-JAD-PAL Document 1 Filed 10/30/17 Page 10 of 16
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              1
                    BRIAN D. NETTLES, ESQ.
              2     Nevada Bar No. 7462
                    CHRISTIAN M. MORRIS, ESQ.
              3     Nevada Bar No. 11218
                    EDWARD J. WYNDER, ESQ.
              4
                    Nevada Bar No. 13991
              5     NETTLES LAW FIRM
                    1389 Galleria Drive, Suite 200
              6     Henderson, Nevada 89014
              7
                    Telephone: (702) 434-8282
                    Facsimile: (702) 434-1488
              8     brian a~nettleslawfirm.com
                    christiangnettleslawfirm.com
              9     edward annettleslawfirm.com
              10    Attorneys for Plaintiff

  o        k 11                                            DISTRICT COURT
  o       ~~
          ~ 12                                       CLARK COUNTY, NEVADA
          ~ 13
  ~~ 7
     M
                    MACIE PEELER                                             CASE NO.: A-17-761255-C
a Qz      o 14
                                      Plaintiff,
                                                                             DEPT. NO.: XIX
      ~   N 15
          00
a = ~   N 0
Fy ~ ° ~° 16
                    vs.
          ~
W00       017       STATE FARM MUTUAL AUTOMOBILE FIRST AMENDED COMPLAINT
z         ~         INSURANCE COMPANY; DOES 1 through
              18    10; XYZ CORPORTATIONS 11 through 20;
              19    and ABC LIMITED LIABILITY
                    COMPANIES 21 through 30,
              20
                                        Defendants.
              21
              22
                           COIVIES NOW, Plaintiff, PEELER MACIE, by and through her counsel, Brian D.
              23
                    Nettles, Esq., Christian M. Morris, Esq., and Edward Wynder, Esq. of the Nettles Law Firm,
              24
                    and for her causes of action against Defendants above named, complains and alleges as follows:
              25
              26
              27
              28



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                                                   Case Number: A- 1 7-761255-C
                       Case 2:17-cv-02735-JAD-PAL Document 1 Filed 10/30/17 Page 11 of 16




                   1                                    GENERAL ALLEGATIONS
                   2           1.      Plaintiff Macie Peeler (hereinafter "Plaintiff') is, and at all relevant times was,
                   3    an individual residing in Clark County, Nevada.
                   4           2.      On information and belief, Defendant State Farm Mutual Automobile Insurance I
                   5    Company (hereinafter "Defendant State Farm") is, and at all relevant times was, an insurance I
                   6    company authorized to write insurance policies in Nevada.
                   7           3.      Upon information and belief, all of the acts, omissions, and conduct described I
                   8    below of each and every corporate Defendant was duly authorized, ordered, and directed by the
                   9    respective and collective Defendant corporate employers, officers, and management-level
                  10 employees of said corporate employers. In addition thereto, said corporate employers
    o~                  participated in the aforementioned acts and conduct of their said employees, agents and
    o~
     ~ 12
~ y~ ~                  representatives and each of them; and upon completion of the aforesaid acts and conduct of said
        00   M    13    corporate employees, agents and representatives, the Defendant corporations, respectively and
~ •
  ~ >        ~
    ~z       N    14    collectively, ratified, accepted the benefits of, condoned, lauded, acquiesced, approved, and

    N y      00   15    consented to each and every of the said acts and conduct of the aforesaid corporate employees,
             °° 16      agents, and representatives.
             7
W~           0 17              4.      The true names and capacities, whether individual, corporate, associate, ,
z            ~
                  18 I I governmental, or otherwise, of Defendants Does 1 through 10, XYZ Corporations 11 through
                  19 1120, and ABC Limited Liability Companies 21 through 30 ("Does/XYZ/ABC"), inclusive, are
                  20 I I unknown to Plaintiff at this time, whom therefore sues said defendants by such fictitious names.
                  21 When the true names and capacities of said defendants have been ascertained, Plaintiff will
                  22 I I amend this Complaint accordingly.
                  23           5.      Upon information and belief, Doe/XYZ/ABC Defendants were involved in the
                  24 I I initiation, approval, support, or execution of the wrongful acts upon which this litigation is
                  25    premised, or of similar actions against Plaintiff of which Plaintiff is presently unaware.
                  26           6.      On or about July 11, 2013, and at all times relevant hereto, Plaintiff was the
                  27 I I driver of a 2003 GMC Yukon driving her vehicle northbound in the far left travel lane on
                  28    Swenson Street when another driver failed to properly maintain his travel lane while making an



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                      Case 2:17-cv-02735-JAD-PAL Document 1 Filed 10/30/17 Page 12 of 16




                        abrupt left turn, thereby colliding with the front of Plaintiffls vehicle, causing Plaintiffto sustain
                  2     bodily injury and incur damages.

                  3             7.      Upon information and belief, on or about July 11, 2013, and at all times relevant
                  4     hereto, Plaintiff was the named insured on automobile policy 013850828F and/or
                  5     0138508F3128F issued by Defendant State Farm (hereinafter the "State Farm Policy").
                  G'i           8.      The State Farm Policy contained a provision for uninsured/underinsured motorist
                  7     coverage in the amount of $100,000.00 per person and $300,000.00 per occurrence.
                  8             9.      Additionally, the other driver's insurance coverage was inadequate to
                  9     compensate Plaintiff for her losses.
                 10             10.     To date, Plaintiff has incurred medical expenses in excess of $148,334.50 as a I
~o          x 11        result of the Subject Crash.

w           ~~12                11.     Further, Plaintiff is in need of future medical care and surgery.

        ~   ~13
            M                   12.     Despite the amount of these expenses, and receipt of inedical records to prove
    ~z      N 14
            ~           the amount, Defendant State Farm refuses to authorize an appropriate settlement that would I

            oc   15     fully compensate Plaintiff for her losses.
~       d   N
            ~ 16                13.     Plaintiff first contacted Defendant State Farm regarding the
F 00~       M
            ~
W^          N 17        uninsured/underinsured motorist coverage on April 8, 2015.
Z           ~
                 18             14.     Correspondence between Plaintiff and Defendant State Farm continued from this
                 19     date until August 10, 2017, when Defendant State Farm denied to extend an Uninsured Motorist
                 20     bodily injury settlement offer.
                 21             15.     Defendant State Farm determined a ran2e of value not disclosed to Plaintiff on
                 22 Plaintiffls claim for benefits under the State Farm Policy.
                 23             16.     As of June 30, 2017, the only recovery from any and all applicable policies in the
                 24     underlying matter is $1,000.00.

                 25             17.     Plaintiff has been damaged by Defendant, in an amount in excess of $15,000.00.
                 26             18.     As a direct and proximate result of the actions or omissions of Defendant,
                 27 I Plaintiff has had to retain the services of the law offices of Nettles Law Firm to pursue this
                 28     action and is entitled to recover costs of suit and reasonable attorney's fees incurred herein.



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                      Case 2:17-cv-02735-JAD-PAL Document 1 Filed 10/30/17 Page 13 of 16




                 2                                      FIRST CAUSE OF ACTION
                  3                                          (Breach of Contract)
                  4           19.     Plaintiff repeats and re-alleges each and every allegation contained in paragraphs
                  5    1 through 18 as though fully set forth herein.
                  Gi          20.     Upon information and belief, on or about July 11, 2013, and at all times relevant
                  7    hereto, a valid contract, the State Farm Policy, existed between Plaintiff and Defendant State
                  8    Farm; wherein Defendant State Farm would provide uninsured/underinsured motorist coverage

                  9    in the amount of $100,000.00 per person and $300,000.00 per occurrence.
                 10           21.     Upon information and belief, on or about July 11, 2013, Plaintiff had fully
~o           ~x 11     performed all of her duties under the State Farm Policy.
  o          ~
~ N          °° 12            22.     Upon information and belief, on or about July 11, 2013, the driver who struck
    ~o
         ~   ~
             M 13      Plaintiff was an uninsured/underinsured motorist as defined in the State Farm Policy.
    a~       7

aQ~ 0 14                       23.    Defendant State Farm breached the State Farm Policy by, among other things,
W ""         N 15
             ~         refusing to fully compensate Plaintiff under the uninsured/underinsured coverage provisions.
a - ~        N
    ~°       °° 16             24.    As a direct and proximate result of Defendant State Farm's breach of the State
    00       ~
W~           N 17      Farm Policy, Plaintiff is entitled to recover damages in excess of $15,000.00.
z            ~
               18              25.    As a direct and proximate result of Defendant State Farm's breach of the State
                 19    Farm Policy, Plaintiff has had to retain the services of the law offices of Nettles Law Firm to
                 20 pursue this action, and, as such, is entitled to recover costs of suit and reasonable attorney's fees
                 21    incurred herein.
                 22                                    SECOND CAUSE OF ACTION
                 23            (Contractual Breach of Implied Covenant and Good Faith and Fair Dealing)
                 24            26.     Plaintiff repeats and re-alleges each and every allegation contained in paragraphs
                 25    I through 25 as though fully set forth herein.
                 26            27.     In Nevada, implied in every contract, including the State Farm Policy, is a
                 27 covenant of good faith and fair dealing that requires the parties to act fairly and in good faith
                 28    with each other.



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                       Case 2:17-cv-02735-JAD-PAL Document 1 Filed 10/30/17 Page 14 of 16




                   1              28.      Defendant State Farm breached its duty of good faith and fair dealing by, among
                   2    other things, refusing to fully compensate Plaintiff under the uninsured/underinsured coverage
                   3 I provisions.
                   4              29.      As a direct and proximate result of Defendant State Farm's breach of the implied I
                   5    warranty of good faith and fair dealing, Plaintiff is entitled to recover damages in excess of

                   6    $15,000.00.

                   7              30.      As a direct and proximate result of Defendant State Farm's breach of the implied
                   8    warranty of good faith and fair dealing, Plaintiff has had to retain the services of the law offices

                   9    of Nettles Law Firm to pursue this action, and, as such, is entitled to recover costs of suit and
                  10    reasonable attorney's fees incurred herein.
~o             k 11                                          THIRD CAUSE OF ACTION
 o            w~
              ~12
              ~                         (Tortious Breach of Implied Covenant of Good Faith and Fair Dealing)

         ~    ~*
              M 13                31.      Plaintiff repeats and re-alleges paragraphs 1 through 30 as though fully set fo
    ~         7

aQc o 14                herein.
                  15              32.      Implied in every contract in the State of Nevada is a covenant of good faith
~        'O   N
    ~°            16    fair dealing that requires the parties to act fairly and in good faith with each other.
    00        ~
W             N 17                33.      Defendant State Farm owed a duty of good faith to Plaintiff.
z             ~
                18                34.      There was a special element of reliance between Plaintiff and Defendant S1
                  19    Farm where Defendant State Farm was in a superior or entrusted position.
                  20              35.      Defendant State Farm breached the Defendant State Farm Policy by, among ot
                  21    things, refusing Plaintiff the compensation due under the underinsured coverage provisions a
                  22 by unreasonably undervaluing Plaintiff's claim, and by placing its own interests above those
                  23    Plaintiff.
                  24              36.       Plaintiffls justified expectations were thus denied.
                  25              37.       Plaintiff has been damaged by Defendant State Farm's breaches of the impl
                  26    covenant of good faith and fair dealing in an amount in excess of $15,000.00.
                  27
                  28


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                        Case 2:17-cv-02735-JAD-PAL Document 1 Filed 10/30/17 Page 15 of 16




                    1               38.   Plaintiff has been required to retain the services of counsel to prosecute
                   2     matter, and, as such, is entitled to an award of costs and reasonable attorneys' fees inci
                    3   I herein.
                    4               39.   As Defendant State Farm's tortious breaches of the implied covenant of goo
                    5   I faith and fair dealing was oppressive, fraudulent and/or malicious, Plaintiff is entitled to puniti

                    6 I and/or exemplary damages.

                    7                                    FOURTH CAUSE OF ACTION
                    8                                           (Declaratory Relief)

                    9               40.   Plaintiff repeats and re-alleges each and every allegation contained in paragraph;
                   10    1 through 39 as though fully set forth herein.
~o             ~x 11 '     41.    Under N.R.S. § 30.010 et seq., the Uniform Declaratory Judgment Act, arr
~ ~           w
    N         °° 12 person interested under a written contract or other writings constituting a contract, or whos,

         -
         00
         ~    M 13
              ^
              ~          rights, status or other legal relations are affected by a contract, may have determined
         ,~
a~Q~ z   ~    o
              N 14       question of construction or validity arising under the contract and obtain a declaration of ri
W     ~
    N ~
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                   15    status or other legal relations thereunder.
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F, ~ ~        ~ 16                  42.   A justiciable controversy exists as Plaintiff has asserted a claim of right
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              N 17       indemnification for her loss from Defendant State Farm, and Defendant State Farm has
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                18       interest in contesting PlaintifPs claim of right because they have repudiated the State Fa
                   19    Policy, and have refused to indemnify Plaintiff for her uninsured/underinsured motorist cla'.
                   20 Accordingly, the controversy is among persons whose interests are adverse.
                   21               43.   Plaintiff has a legally-protectable interest in the controversy, i.e., her right
                   22    indemnification from Defendant State Farm.
                   23               44.   The issue involved in the controversy is ripe for judicial determination becausE
                   24 there is a substantial controversy, among parties having adverse legal interests, of sufficien
                   25    immediacy and reality to warrant the issuance of a declaratory judgment.
                   26               45.   Accordingly, Plaintiffrequests a declaratory judgment that Defendant State Farn
                   27 owes her a duty to indemnify her on her uninsured/underinsured motorist claim.
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               1               46.   Plaintiff has been required to retain the services of counsel to prosecute
               2     matter and, as such, is entitled to an award of their costs and reasonable attorneys' fees incu
               3     herein.

               4               WHEREFORE, Plaintiff prays for relief against Defendants, and each of them, as I
               5     fo llows:

               6               1.    For damages in excess of $15,000.00;
               7               2.    For interest as permitted by law;
               8               3.    For declaratory judgment;
               9               4.    For punitive and/or exemplary damages;
               10              5.    For costs and attorney's fees incurred herein; and
~           X 11               6.     For such other and further relief as the Court deems proper.
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           °° 12               DATED this 19`" day of September, 2017.
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z          ~                                                        BRIAN D. NETTLES, ESQ.
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                                                                    CHRISTIAN M. MORRIS, ESQ.
               19                                                   Nevada Bar No. 11218
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                                                                    A ttorneysfor Plaintiff
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